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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
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9     ANDREW L. MEEKS, II,                                Case No. 3:18-cv-00431-MMD-WGC
10                                       Plaintiff,                    ORDER
             v.
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      NEVADA DEPARTMENT OF
12    CORRECTIONS, et al.,
13                                   Defendants.
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            This action is a pro se civil rights action filed pursuant to 42 U.S.C. § 1983 by a
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     state prisoner. On June 27, 2019, the Court imposed a 90-day stay, and the Court
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     entered a subsequent order in which the parties were assigned to mediation by a court-
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     appointed mediator. (ECF No. 7, 9). The Office of the Attorney General has filed a status
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     report indicating that settlement has not been reached and informing the Court of its intent
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     to proceed with this action. (ECF No. 12).
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            For the foregoing reasons, IT IS ORDERED that:
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            1.     The Clerk of the Court shall electronically SERVE a copy of this order and
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     a copy of Plaintiff’s complaint (ECF No. 1-2) on the Office of the Attorney General of the
23
     State of Nevada by adding the Attorney General of the State of Nevada to the docket
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     sheet. This does not indicate acceptance of service.
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            2.     Service must be perfected within ninety (90) days from the date of this order
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     pursuant to Fed. R. Civ. P. 4(m).
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1           3.     Subject to the findings of the screening order (ECF No. 7), within twenty-

2    one (21) days of the date of entry of this order, the Attorney General’s Office shall file a

3    notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it

4    accepts service; (b) the names of the defendants for whom it does not accept service,

5    and (c) the names of the defendants for whom it is filing the last-known-address

6    information under seal. As to any of the named defendants for whom the Attorney

7    General’s Office cannot accept service, the Office shall file, under seal, but shall not serve

8    the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such

9    information. If the last known address of the defendant(s) is a post office box, the Attorney

10   General's Office shall attempt to obtain and provide the last known physical address(es).

11          4.     If service cannot be accepted for any of the named defendant(s), Plaintiff

12   shall file a motion identifying the unserved defendant(s), requesting issuance of a

13   summons, and specifying a full name and address for the defendant(s).                For the

14   defendant(s) as to which the Attorney General has not provided last-known-address

15   information, Plaintiff shall provide the full name and address for the defendant(s).

16          5.     If the Attorney General accepts service of process for any named

17   defendant(s), such defendant(s) shall file and serve an answer or other response to the

18   complaint within sixty (60) days from the date of this order.

19          6.     Henceforth, Plaintiff shall serve upon defendant(s) or, if an appearance has

20   been entered by counsel, upon their attorney(s), a copy of every pleading, motion or other

21   document submitted for consideration by the Court. Plaintiff shall include with the original

22   document submitted for filing a certificate stating the date that a true and correct copy of

23   the document was mailed or electronically filed to the defendants or counsel for the

24   defendants. If counsel has entered a notice of appearance, Plaintiff shall direct service

25   to the individual attorney named in the notice of appearance, at the physical or electronic

26   address stated therein. The Court may disregard any document received by a district

27   judge or magistrate judge which has not been filed with the Clerk, and any document

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1    received by a district judge, magistrate judge, or the Clerk which fails to include a

2    certificate showing proper service.

3          7.     This case is no longer stayed.

4          DATED: September 18, 2019.
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                                             UNITED STATES MAGISTRATE JUDGE
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